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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS                          )    Case No. 3:19-md-02885
 EARPLUG PRODUCTS LIABILITY                     )
 LITIGATION                                     )    Judge M. Casey Rodgers
                                                )
                                                )    Magistrate Judge Hope T. Cannon
 This Document Relates to:                      )
 All Cases                                      )
                                                )

                           ORDER OF APPOINTMENT
              (Settlement Administrator, Settlement Allocation Master,
                             and EIF Special Master)

         On February 25, 2020, on Plaintiffs’ unopposed motion, and for good cause

shown, this Court appointed ARCHER Systems, LLC (“ARCHER”) to serve as the

Lien Resolution Administrator for this MDL. 1 Since the appointment, ARCHER

has worked with constituents of the Plaintiffs’ Executive Committee (“PEC”) to

obtain demographic information on more than 225,000 claimants and negotiated

favorable lien resolution terms with the U.S. Department of Veteran Affairs and

other governmental agencies.2




   1
       Order of Appointment, ECF No. 1007.
   2
      See Exhibit A (correspondence from the U.S. Department of Veteran Affairs affirming the
VA’s waiver of any subrogation interests and stating that no service member will lose health or
disability benefits, or have their disability rating adversely adjusted, directly as a result of
registering and participating in any 3M Combat Arms Earplug (CAE) settlement).
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       The Parties have reached an agreement that purports to settle the more than

240,000 Combat Arms Earplug Product Liability cases pending in this Court upon

the satisfaction of conditions set forth in a Master Settlement Agreement (“MSA”).3

The Court maintains jurisdiction over all those pending cases until such time as all

conditions to settlement have been satisfied and the cases have been dismissed from

this Court. In the exercise of the Court’s authority to manage its docket and to ensure

the timely and efficient performance of the actions necessary to satisfy the conditions

of settlement, it is ORDERED:

       1.     ARCHER is appointed as the Settlement Administrator for this MDL.

       2.     As Settlement Administrator, ARCHER shall serve as the Qualified

Settlement Fund (“QSF”) Administrator and shall act as the fiduciary of the

settlement trust in accordance with the provisions of the Trust Agreement, the MSA

and Orders of this Court with specific powers to include retention of the trust estate,

investments and preservation of principal, disbursements, payments of

administrative expenses and costs, retention of investment advisors and other agents,

consultation with Counsel, execution of documents, litigation, and compliance with

applicable law.




       3
         The Combat Arms Master Settlement Agreement is available on the Court’s public
website for the 3M MDL, https://www.flnd.uscourts.gov/3m-products-liability-litigation-mdl-no-
2885.


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      3.     ARCHER, as QSF Administrator, shall prepare a proposed Motion,

Order, and Trust Agreement to establish a C.F.R. § 1.468B-1 Qualified Settlement

Fund. Upon entry of the Order to establish the QSF, ARCHER shall open a custodial

bank account(s) and obtain a Taxpayer Identification Number from the Internal

Revenue Service. Such bank account shall be determined by MDL Plaintiffs’

Leadership in consultation with the Court-Appointed Certified Public Accountant.

      4.     For the purpose of Section 468B of the Internal Revenue Code,

ARCHER, as QSF Administrator, shall timely and properly provide all

informational and other tax returns necessary or advisable with respect to the QSF

and the amounts held in the QSF, including the returns described in Treasury

Regulation §1.468B-2(k)(l). Such returns (as well as the election described in

Section 468B) shall be consistent with Section 468B and in all events shall reflect

that all taxes (including any estimated taxes, interest or penalties, or tax detriments)

on the income earned by the QSF shall be paid exclusively out of the QSF, in

accordance with Section 468B. The preparation and filing of all tax documents,

including tax returns, shall be performed by the Court-Appointed Certified Public

Accountant, who shall make periodic reports to the MDL Court.

      5.     ARCHER, as QSF Administrator, shall be solely responsible for

payments directly to all Eligible Claimants, their healthcare lienholders, and CAE




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Counsel for attorneys’ fees and costs upon the satisfaction of all conditions precedent

prior to distribution of settlement proceeds.

      6.     To facilitate the performance of ARCHER’s payment duties, as set

forth above, CAE Counsel shall, at ARCHER’s request, provide ARCHER with all

attorneys’ fees, expense and lien information in their possession.

      7.     In connection with any authorized distribution made pursuant to the

terms of the MSA, ARCHER shall determine the amount of any common benefit

assessment in accordance with this Court’s Common Benefit Orders #1-3 (ECF Nos.

488, 900 & 1659) and shall, at the Court’s or the Parties request, provide an

accounting of the same.

      8.     Each Eligible Claimant shall agree, and by executing the Release does

agree, that he or she will indicate on his or her Registration Form whether a

bankruptcy action is currently pending in which he or she is seeking bankruptcy

protection. Eligible Claimants subject to any bankruptcy court proceeding or

jurisdiction will be responsible for resolving any issues arising from the bankruptcy.

As QSF Administrator, ARCHER shall communicate with the bankruptcy trustee

and/or the Claimants’ bankruptcy attorney to coordinate the disposition of the

bankruptcy estate’s claim before any Settlement Payment may be made to such

Claimant, their lienholder(s), and CAE Counsel.




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      9.    ARCHER shall be responsible for coordination and implementation of

the Settlement Program pursuant to the MSA, including coordination with any

Court-appointed third-party vendors (i.e., BrownGreer PLC), implementation,

application, and generation of Registered Claimant’s settlement offer vis-à-vis

Allocation Special Master methodology, building and transmitting a Settlement

Disclosure Packet to Eligible Claimants; and cataloguing, reviewing, and

coordinating with the Extraordinary Injury Special Master any “extraordinary injury

fund” (“EIF”) applications or other appeals.

      10.   As Settlement Administrator, ARCHER shall be responsible for all data

administration related to the Settlement Program. Archer shall work with the

Settlement Data Administrator, BrownGreer PLC, to facilitate the transfer of data in

MDL-Centrality or any other BrownGreer database related to individual Claimants

including, but not limited to, all DOEHRS data, to ARCHER.

      11.   ARCHER shall use the data obtained from BrownGreer along with all

other information collected from the Claimants and CAE counsel to perform

eligibility determinations and qualify Eligible Claimants for participation in the

Settlement Program consistent with the MSA.

      12.   ARCHER shall review all Claimant submissions and supporting

records. ARCHER shall provide Defendants with copies of all Claimant Releases

and Stipulations of Dismissal, and hold such in trust pursuant to the MSA pending


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final payments made to each claimant. ARCHER shall report to the Court and the

Parties the number of Claimants who have submitted validly executed Releases and

Stipulations of Dismissal.

      13.    ARCHER shall ensure all conditions precedent set forth in the MSA

have been satisfied for Registered Claimants to receive settlement fund payment.

      14.    ARCHER shall identify any Claimant represented by more than one

law firm / lawyer to Defendants and Eligible Claimant’s firms. ARCHER shall have

no responsibility nor obligation to resolve the representation of any Claimant who

has retained more than one law firm / lawyer to represent Eligible Claimant in this

litigation or Settlement Program, but shall report such dual representation issues to

the Parties, the MDL Court and the MN Court for resolution.

      15.    ARCHER shall work with the Parties to design and implement fraud

protection measures, including to identify and reject fraudulent CAE Claims.

      16.    To facilitate the Parties’ settlement, the Court will appoint an

independent, third-party neutral to create an allocation methodology to calculate a

settlement award for each Eligible Claimant. Based upon his prior professional

experience as a Special Master and Administrator of settlement funds and crisis

response programs throughout the country in environmental disaster, product

liability, civil rights, sexual abuse and other cases and his substantial firsthand

experience with the design, oversight and/or administration of hundreds of class


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action and mass tort resolution programs, the Court appoints Matt Garretson as

Settlement Allocation Master. As Settlement Allocation Master, Mr. Garretson shall

be responsible for designing an allocation methodology which well be applicable to

all Eligible Claimants. ARCHER shall apply the Settlement Allocation Master’s

allocation methodology to all Eligible Claimants to calculate each Eligible

Claimant’s settlement award. The Settlement Allocation Master shall review and

approve ARCHER’s application of his allocation methodology and resulting

Eligible Claimant settlement award.

      17.    The Settlement Allocation Master shall work with the Extraordinary

Injury (EIF) Special Master to establish the criteria and process for an Eligible

Claimant to seek additional compensation from any extraordinary injury fund.

      18.    The Court has determined that the appointment of an additional Special

Master to assist with the design and implementation of rules regarding any EIF will

assist ARCHER with the discharge of its duties as Settlement Administrator. Based

on his prior experience serving as an Extraordinary Injury Special Master in other

product liability litigation and his appointment by other courts to serve in the same

role, the Court appoints J. Christopher Klotz as EIF Settlement Master.

      19.    The Extraordinary Injury Special Master shall work with the Settlement

Allocation Master to establish the criteria and process for an Eligible Claimant to

seek additional compensation from any extraordinary injury fund. Thereafter, the


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Extraordinary Injury Special Master shall develop equitable criteria for assessing

qualified petitions to the EIF and shall apply those criteria to the facts of the

petitioning Claimant’s case to determine (a) whether to grant an additional award of

compensation from the EIF and (b) the amount of any such additional award.

      20.    The EIF Settlement Master shall work directly with the Settlement

Allocation Master and ARCHER to carry out any and all other duties necessary to

equitably allocate the Settlement Amount among the Settling Claimants

participating in the EIF, consistent with the terms of the parties’ Master Settlement

Agreement.

      21.    Throughout the Registration period as established in the MSA,

ARCHER shall provide the Parties, Parties’ counsel and the Court with reporting

which reflects the number of Eligible Claimants who fully completed a Registration

Form and Release, the number of Eligible Claimants who have partially completed

a Registration Form and/or Release, and the number of Eligible Claimants who did

not access their Registration Form or Release. Reporting to the Parties and the Court

shall be not less than monthly through the Registration stage of the settlement

program.

      22.    Fourteen (14) days prior to the expiration of the Initial Registration

Date, ARCHER shall identify and issue a notice to all Eligible Claimants listed on

the Identification Order Report who did not submit Registration Materials, meaning


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they did not opt in or opt out of the Settlement (“Non-Responding Claimants”). Such

Notice shall remind all Eligible Claimants and counsel of the deadline to submit

Registration Materials and the consequences, including dismissal with prejudice, of

the failure to do so. Both Parties, the MDL Court and the MN Court shall be

provided with a list of the Non-Responding Claimants when the Notice is

distributed.

      23.      Seven (7) days prior to the expiration of the Initial Registration Date,

ARCHER shall send any remaining Non-Responding Claimants and counsel a

notification containing substantially the same information as set forth in the

preceding paragraph.

      24.      Seven (7) days after the Initial Registration Date, ARCHER shall

provide a list of Non-Responding Claimants to the Parties and the MDL and MN

Court. Such list shall be divided by Non-Responding Claimants who have filed CAE

Claims and Non-Responding Claimants who have not filed CAE Claims.

      25.      ARCHER, Defendants, MDL Counsel or MN Counsel shall have no

liability for any failure of ARCHER to give any notice to Eligible Claimants who

fail to timely Register.

      26.      Eligible Claimants who complete a Registration Form but elect not to

participate in the Settlement Program (“Non-Participating Claimants”) by the Initial

Registration Date, but who change their mind following notice from ARCHER, and


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submit a Registration Form shall be treated as Registered Claimants. The date sixty

(60) days after the Initial Registration Date shall be the Final Registration Date,

unless extended by agreement of the Parties.

      27.     ARCHER shall transmit the Registration program materials directly to

the Eligible Claimants, with copies to their counsel, and will make available

personnel to facilitate Eligible Claimants completing the Registration Process. For

the avoidance of doubt, while Archer shall communicate directly with Eligible

Claimants regarding the Registration Process, it shall not provide Eligible Claimants

with legal advice. Similarly, Archer shall communicate directly with Eligible

Claimants, or their representatives, to obtain information necessary to satisfy the

conditions in the MSA for Eligible Claimants subject to bankruptcy and/or probate

conditions.

      28.     In the event that an allocation to a deceased Eligible Claimant is

$75,000 or more, the Release shall not be effective until executed by a representative

for the deceased Eligible Claimant appointed in accordance with applicable state

law. For any deceased Eligible Claimant who will receive less than $75,000, the

Release shall be effective if signed by all beneficiaries identified in a family

settlement affidavit or the representative satisfies the small estate administration

rules consistent with applicable state law. Moreover, in the event that a motion for

substitution of parties under Rule 25, Federal Rules of Civil Procedure, is made and


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granted by the MDL Court, such new party shall be entitled to register and participate

in the settlement as if the deceased Eligible Claimant were still alive. As Claims

Administrator, ARCHER shall coordinate the estates of deceased Eligible

Claimants.

      29.    For Eligible Claimants who are deceased, the Release shall be signed

by a beneficiary, recognized under state law. Such Release shall be deemed

sufficient for satisfying such deceased Eligible Claimants’ Release execution

obligation to be considered a Registered Claimant by ARCHER, as Claims

Administrator. ARCHER shall not, however, distribute any funds on behalf of a

deceased Eligible Claimant until ARCHER, as Claims Administrator, confirms that

the Release has been executed in accordance with the requirements for Survival and

Wrongful Death Claims in accordance with the Parties’ MSA.

      30.    No more than fifteen (15) days of the Final Registration Date,

ARCHER shall provide the Court and the Parties with a report on the Participation

Level as set forth in more detail in the MSA. ARCHER shall supplement its

Participation Level report to the parties on a monthly basis unless requested more

frequently by the Court or jointly by the parties.

      31.    In addition to the reports set forth above, ARCHER shall provide the

Court and the parties with all other reports and certifications in accordance with the

agreement of the Parties in the MSA.


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      32.    Counsel for Eligible Claimants and all Eligible Claimants themselves

are hereby on notice that the Court expects full compliance with the notices provided

by ARCHER, as ARCHER has been delegated authority from the Court to process

registration materials and deficiencies. Failure to strictly comply will be grounds

for dismissal with prejudice WITHOUT FURTHER NOTICE.

      33.     Other than the payment obligation set forth in Article 3 of the MSA,

3M shall have no responsibility for any fees, expenses, or costs in connection with

ARCHER, the Settlement Allocation Master, the EIF Settlement Master, or any

other professional or process in connection with the administration of the settlement.

      34.    Within seven days of the date of this Order, ARCHER, the Settlement

Allocation Master, and the EIF Settlement Master must file affidavits disclosing

whether there is any ground for disqualification under 28 U.S.C. § 455.4

      SO ORDERED, on this 29th day of August, 2023.


                                         M. Casey Rodgers
                                         M. CASEY RODGERS
                                         UNITED STATES DISTRICT JUDGE




      4
         This requirement does not preclude ARCHER from immediately beginning its work with
respect to the Settlement Program.


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